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14898851 Acs/slfc Education Loa          C/o Acs        Utica NY 13501
14898853 Barbara Maroney            29834 N. Cave Creek Rd 118336          Cave Creek AZ 85331−2385
14898855 Capital One          Attn: General Correspondence/Bankruptcy          Po Box 30285       Salt Lake City UT
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14898854 Capital One          Po Box 30281         Salt Lake City UT 84130
14898856 Capital One Auto Finance           3901 Dallas Pkwy        Plano TX 75093
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14898859 Chase Auto Finance           National Bankruptcy Dept        201 N Central Ave Ms Az1−1191          Phoenix AZ
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14898863 Student Loan Finance C           105 1st Ave Sw        Aberdeen SD 57401
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14898866 Synchrony Bank           Attn: Bankruptcy         Po Box 965060        Orlando FL 32896
14898865 Synchrony Bank           C/o Po Box 965036          Orlando FL 32896
14898868 Synchrony Bank/PayPal Cr            Attn: Bankruptcy        Po Box 965060        Orlando FL 32896
14898867 Synchrony Bank/PayPal Cr            Po Box 965005         Orlando FL 32896
14898869 Tbf Financial Llc          740 Waukegan Rd Ste 404         Deerfield IL 60015
14898871 Wells Fargo Dealer Services          Attn: Bankruptcy        Po Box 19657       Irvine CA 92623
14898870 Wells Fargo Dealer Services          Po Box 1697         Winterville NC 28590
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